I                                                                           'r
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                             U N ITED STA TE S D ISTR TC T C O U R T
                                                  Southern D istrict of Florida
                                                         M iam iD ivision


            U NITED STA TES O F A M ER ICA                       JU D G M EN T IN A C RIM IN A L CA SE
                                 V.
     G U STA V O AD O LFO H ER N AN D EZ FR IER I                Case N um ber:18-cr-20685-W ilIiam s
                                                                 U SM Number:18125-104
                                                                 CounselForDefendant:
                                                                 M ichaelS.Pasano,H ow ard M ilton Srebnick
                                                                 CounselForTheUnited States:
                                                                 K urtK .Lunkenheim er,Nalina Som buntham ;PaulH ayden
                                                                 CourtReporter:Patrkia Sanders
    The defendantpleaded guilty to Count1 ofthe Indictm ent.

    Thedefendantisadjudicatedguiltyoftheseoffenses;                                               ..
                                                                                                  O FFEN SE
    TITLE & SECTION                   NATURE OF OFFENSE                                           ENDED       COUNT

    18U.S.C.1956(h)                   ConspiracytoCom'mitV oneyLaundering.                    . 08/01/2018    1
    The defendant is sentenced as provided in the following pages of thisjudgment.The sentence is imposed
    pursuantto the Sentencing Reform A ctof 1984.
    A llrem aining counts are dism issed on the m otion ofthe governm ent.
    Itis ordered thatthe defendantm ustnotify the United States attolmey forthis districtwithin 30 days of any
    change ofnam e,residence,orm >iling addressuntila1lfines,restitm ion,costs,and specialassessm ents imposed
    bythisjudgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
    attorney ofm aterialchanges in econom ic circum stances.




                                                                D ate ofIm position ofSentence:4/30/2021




                                                                 K athleen       . illiam s
                                                                 United State DistrictJudge

                                                                 Date:           <
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DEFEN D AN T:G ustavo A dolfo H ernandez Frieri
CA SE N U M BER :18-cr-20685-W illiam s

                                                      IM PR ISO N M EN T

The defendantishereby comm itted to the custody oftheUnited StatbsBureau ofPrisonsto beimprisoned fora
totalterm of46 m onths.
The courtm akes the follow ing recom m endations to the Bureau ofPrisons:
D efendantbe designated to a facility in or asclose to South Florida as possible.
Defendantshallsurrendèr to the designated facility and/or the US M arshalfor this Districton or before
7/29/2021 at12:00 pm .

                                                          R ETU RN
1haveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                  to

at                                                  ,withacertifiedcopy ofthisjudgment.




                                                               UN ITED STA TES M AR SH A L



                                                               D EPU TY U N ITED STATES M A R SH M
                                                                                                          .                 I
!                                                                                                          ''
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                                                                                                                                 7
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    DEFEN D AN T:G ustavo A dolfo H ernandez Frieri
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                                                      SUPE RV ISED R ELEA SE

    Upon release from im prisonm ent,the defendantshallbe on supervised release foratenu of3 years.
    The defendantmustreportto the probation office in the districtto which thedefendantisreleased within 72 hoursofrelease
    from thecustody oftheBureau ofPrisons.
    The defendantshallnotcomm itanotherfederal,stateorlocalcrim e.
    The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
    controlled substance.The defendantshallsubm itto one drug testw ithin 15 days ofrelease from imprisonmentand atleast
    two periodicdrug teststhereafter,asdeterm ined by thecourt.
    Thedefendantshallnotpossessa nrearm ,am m unitioli,destructive device,or any other dangerousw eapon.
    Thedefendantshallcooperatein the collection ofDNA asdirected by theprobation officer.

    Ifthisjudgmentimposesafineorrestitution,itisacondition ofsupervisedreleasethatthedefendantpay in accordance
    withtheScheduleofPaymentssheetofthisjudgment.
    Thedefendantm ustcom ply w ith the standard conditionsthathavebeen adopted by thiscourtasw ellasw ith any additional
    conditionson the attached page.
                                        STANDARD CONDITIONS 0* SUPERW SION
            Thedefendantshallnotleavethejudicialdistrictwithoutthepenuissionofthecourtorprobationofticer;
            The defendantshallreporttotheprobation oftkerandshallsubmitatruthf'ulandcompletewritten reportwithin thefirstfifteen
             daysofeach m onth;
             Thedefendantshallanswertnzthfully allinquiriesby theprobationofficerand follow theinstructionsoftheprobation oftker;
            Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
            Thedefendantshallwork regularly atalawfuloccupation,unlessexcusedby theprobation ofticerforschooling,training,or
             otheracceptablereasons;
            Thedefendantshallnotifytheprobation officelratleasttendayspriorto any changein residence oremployment;
            Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
             controlledsubstanceorany paraphemaliarelated toany controlled substances,exceptasprescribed by aphysician;
             'Fhedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradministered;
            Thedefendantshallnotassociatewith any personsengagedin crhninalactivity and shallnotassociatewith any person
             convicted ofafelony,unlessgrantedpermissiontodo sobytheprobation oftker;
         l0. Thedefendantshallpennitaprobation officertovisithim orheratany tim eathom eorelsewhere and shallperm itconfiscation
             ofany contraband observed inplain view oftheprobation oftker;
         l1. Thedefendantshallnotifytheprobationoftkerwithin sekentptwo hoursofbeingm'      rested orquestionedby alaw enforcement
             officer;
         l2. Thedefendantshallnotenterintoany agreementto actasan informeroraspecialagentofa1aw enforcementagency without
             theperm ission ofthecourt;and
         l3. Asdirectedbytheprobationoftker,thedefendantshallnotifythirdpartiesofrisksthatmay beoqcasioned bythedefendant's
             crim inalrecord orpersonalhistoryorcharacteristicsand shallpennittheprobation officertom akesuchnotifk ationsandto
             conflrm thedefendant'scompliancewith such notificationrequirement.
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CA SE N U M BER '
                .18-cr-20685-W illiam s      '

                                     SPECIAL CONDITIONS OF SUPERVISION

FinancialDisclosureRequirement-Thedefendantshallprovidecom pleteaccessto financialinfonnation,
including disclpsureofallbusinessand personalfinances,to theU .S.Probation Offker.

N oNew DebtRestriction -Thedefendantshqllnotapply for,solicitorincurany furtherdebt,includedbutnot
lim ited to loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualorthrough
any coporateentity,withoutfirstobtainingpermissionfrom theUniiedStatesProbationOffker.
Self-Employm entRestriction -Thedefendantshallobtainpriorwritten approvalfrom the Courtbefore entering
into any self-em ploym ent.

Unpaid Restitution,Fines,orSpecialAssessments-Ifthedefendanthasany unpaid am ountofrestitution,fines,
orspecialassessments,thedefendantshallnotifytheprobation officerofany m aterialchange in thedefendant's
economiccircumstancesthatmightaffectthedefendant'sabilityto pay.
                                                                    /

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DEFEN D AN T :G ustavo A dolfo H ernandez Frieri
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                                          CIU M IN A L M O N ETA RY PEN A LTIE S

The defendantm ustpay the totalcrim inalm onetary penaltiestmderthe schedule ofpaym entson Sheet6.
                                  A ssessm ent                   Fine                   Restitm ion
         TOTA LS                     $100.00                  $50,000.00                  $0.00
lf the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto18U.S.C.j366441),aIInonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
NA M E O F PA YEE                                            TO T AI,LO SS*        R ESTITUTIO N O R D ERED
*Findingsforthetotalam ountoflossesare required underChapters 109A,110,110A,and 113A ofTitle 18 for
offensescom m itted on or afler Septem ber 13,1994,butbefore April23,1996.
**Assessmentdueim mediately unlessotherwiseordered by theCout'
                                                             t.
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D/FENDANT:GustavoAdolfoHernandezFrieri
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                                                SC H ED ULE O F PA Y M EN TS

Having assessed the defendant's ability to pay, paym ent of the total crim inal m onetary penalties is due as
follow s:
A.Lum p sum paym entof$50,100.00 dueim m ediately.
Unlessthecoul'thasexpressly ordered othèrwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during im prisonm ent.A l1 crim inalm onetary penalties, except those paym ents m ade
through the FederalBureau of Prisons'Inm ate FinancialResponsibility Program,are made to the clerk ofthe
cotu'
    t.

The defendant shall receive credit for al1paym ents previously m ade tow ard any crim inal m onetary penalties
im posed.
Thisassessment/fine/restitutionispayabletotheCLVRK,UNITED STATES COURTS arldistobeaddressedto:
U .S.CLER K 'S O FFICE
ATTN:FINANCIAL SECTION
400 N O R TH M IA M I A V ENU E,R O O M 08N09
M IA M I,FLO RIDA 33128-7716
The assessm ent/fine/restitution is payable imm ediately.The U .S.Bureau ofPrisons,U .S.Probation Office and
theU.S.Attorney'sOfficeareresponsiblefortheenforcementofthisorder.
Defendantand Co-DefendantNamesandCaseNumbers(including defendantnumber),TotalAmount,Jointand
SeveralAm ount,andcorresponding payee,ifappropriate.
C A SE N UM BER                                                                   JO IN T A N D SEV ER AL
DEFENDANT AND CO-DEFENDANT NAM ES                                  TOTAL AM O UNT AM OUNT
(INCLUDING DEFENDANT NUM BER)
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
